      Case 2:18-cr-00124-MWF Document 11 Filed 03/23/18 Page 1 of 1 Page ID #:124


                                                          UNITED STATES DISTRICT COURT
                                                         CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                      ~ Western Division
                                                                    Plaintiff, ~
                                    vs.                                        ~ Case Number: 2:18-CR-00124-MWF-1             Indictment
                                                                               ~ Initial App. Date: 03/23/2018                Custody
Philip James Layfield                                                          ~ Initial App. Time: 2:00 PM



                                                                 Defendant.        Date Filed: 03/09/2018
                                                                               ~   Violation: 18:1341, 18:1956(a)(1)(i).
                                                                               ~   182(6 18USC982 a T,981 a             C
                                                                               ~   28USC2461(c)                           ~         ~ ~~~~
                                                                               ~   CourtSmart/ Reporter:

        PROCEEDINGS HELD BEFORE UNITED STATES                                  ~                    CALENDAR/PROCEEDINGS SHEET
            MAGISTRATE JUDGE:Patrick J. Walsh                                  ~                     LOCAL/OUT-OF-DISTRICT CASE




     PRESENT:                      MaRinez, Isabel                                      ` `
                                                                                              r~         T
                                                                                                                    ~~
                                                                                                                   ~'                None
                                                                                       v
                                    Deputy Clerk                              Assistant US. Attorney                        Interpreter/Language
              -~ I~7'IAL APPEARANCE NOT HELD -CONTINUED
             ~efe            nt informed of charge and right to: remain silent; appointment of counsel, if indigent; right to bail; bail review and
                        reliminary hearing OR L7 remov 1 heazi~ng /        e 20.           ~ r~/'~ l                            /
                  Defendant states true name'~                 ~ '~"             ~ ~.r l ~ I~~!~~'~L
              ~~ Court ORDERS the caption of the IndictmenUlnformation be changed to re ect defendant's ifferent true name. Counsel are directed to
                       all future documents reflecting the true name as stated on the record.
                  D endant advised of consequence~s off ]se statement in financial affidavit. ? ~ Financial Affidavit ordered SEALED.
                  Attorney: Nadine Hettle, DFPD ._Appointed !_! Prev. Appointed ~_, Poss. Contribution (see separate order)
                   ~J Special appearance by:
                     o      menYs request for etention is ~~ GRANTED ~ DENIED :: WITHDRAWN .~ CONTINUED
                     efendant is ordered: permanently Detained ~ Temporazily Detained (see separate order).
              ^. BAIL FIXED AT $                                           (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
             '='' Government moves to iJNSEAL ComplainUIndictment/Information/Entire Case: ~_' ' GRANTED ':~ DENIED
             '~ Preliminary Hearing waived.
              ~ Class B Misdemeanor _- Defendant is advised of maximum penalties
              "'
             'J This case is assigned to Magistrate Judge                                                    .Counsel aze directed to contact the clerk for the
                  setting of all further proceedings.
             '~ PO/PSA WARRANT !~ Counsel are directed to contact the clerk for
                  District Judge                                                             for the setting of further proceedings.
                 Preliminary Hearing set for                                      at 4:30 PM
             -:PIA set for:                                       at 11:00 AM in LA; at 10:00 AM in Riverside; at 2:00 PM in Santa Ana
             '= Government's motion to dismiss case/defendant                                                  only: ~ GRANTED ':        J DENIED
              n Defendants motion to dismiss for lack of probable cause: ~ GRANTED ~~] DENIED
                  Defendant executed Waiver of Rights. ' ~~ Process received.
             -Court ORDERS defendant Held to Answer to                                        District of
                  7 Bond to transfer, if bail is posted. Defendant to report on or before
                   t 1 Warrant of removal and final commitment to issue. Date issued:                                 By CRD:
                   ~" Warrant of removal and final commitment are ordered stayed until
                 Case continued to (Date)                                           (Time)                                   AM / PM
                  Type of Hearing:                                    Before Judge                                         /Duty Magistrate Judge.
                 P eedings will be held in the '-=i Duty Courtroom                                ~' Judge's Courtroom
                 Defendant committed to the custody of the U.S. Marshal ~ Summons: Defendant ordered to report to USM for processing.
             ~ Abstract of Court Proceeding(CR-53)issued. Copy forwarded to USM.
              J Abstract of Order to Return Defendant to Court on Next Court Day (M-20)issued. Original forwa~ed to USM. ~
                 RE~,E          ORD R NQ:                                                                               ~ ~                         ~`~'
                                 ~~ PSA ~ USPO                               ~ FINANCIAL                           '~ READY
                                                                                                                       Deputy ClerkInitials


         M-5 (10/13)                             CALENDAR/PROCEEDING SHEET -LOCAL/OUT-OF-DISTRICT CASE                                          Page 1 of 1
